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UNITED STATES DIS'I`RICT COURT
WESTERN DISTRICT OF TENNESSEE 05 hug 25 PM 3: 26
Western Division

 
 

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UNiTED sTATEs oF AMERICA CLEPGYDUC; \£?;|HFHTS
-vs- Case No. 2:05cr20303-001B
LoRENZo DAVIS

 

ORDER OF DETENT|ON PEND|NG TR|AL
F|ND|NGS
In accordance With the Bail Rei`orm Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARDING DETENTION

LORENZO DAVIS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving Sentences or
being held in custody pending appeal LORENZO DAVIS shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

gri d
Date: August 25, 2005 . /AM/‘l'l A`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20303 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

